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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                              CASE NO. 21-cv-60590-ALTMAN/HUNT

  SECURITIES AND EXCHANGE COMMISSION,

         Plaintiff,
  v.

  DAVID ORTIZ,

         Defendant.
                                                                /

                 FINAL JUDGMENT AGAINST DEFENDANT DAVID ORTIZ

         This cause comes before the Court upon Plaintiff Securities and Exchange Commission’s

  Unopposed Motion for Final Judgment Against Defendant David Ortiz (“Motion”) [ECF No. 18].

  By the Consent of David Ortiz to Final Judgment (“Consent”) [ECF No. 18-2], without admitting or

  denying the allegations of the Complaint (except that Ortiz admits the jurisdiction of this Court over

  him and over the subject matter of this action and as otherwise set forth in Section V below), Ortiz

  has entered a general appearance, consented to entry of this Final Judgment, waived findings of fact

  and conclusions of law, and waived any right to appeal from this Final Judgment. The Court finds that

  good cause exists for entry of the Final Judgment.

         Accordingly, it is hereby ORDERED and ADJUDGED that the Commission’s Motion

  [ECF No. 18] is GRANTED.

         The Court further orders as follows:

                                                    I.

                               PERMANENT INJUNCTIVE RELIEF

                      A. Section 5 of the Securities Act of 1933 (“Securities Act”)

         IT IS ORDERED AND ADJUDGED that Ortiz is permanently restrained and enjoined
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  from violating Section 5 of the Securities Act [15 U.S.C. § 77e] by, directly or indirectly, in the absence

  of any applicable exemption:

          (a)     Unless a registration statement is in effect as to a security, making use of any means

                  or instruments of transportation or communication in interstate commerce or of the

                  mails to sell such security through the use or medium of any prospectus or otherwise;

          (b)     Unless a registration statement is in effect as to a security, carrying or causing to be

                  carried through the mails or in interstate commerce, by any means or instruments of

                  transportation, any such security for the purpose of sale or for delivery after sale; or

          (c)     Making use of any means or instruments of transportation or communication in

                  interstate commerce or of the mails to offer to sell or offer to buy through the use or

                  medium of any prospectus or otherwise any security, unless a registration statement

                  has been filed with the Commission as to such security, or while the registration

                  statement is the subject of a refusal order or stop order or (prior to the effective date

                  of the registration statement) any public proceeding or examination under Section 8

                  of the Securities Act [15 U.S.C. § 77h].

          IT IS FURTHER ORDERED AND ADJUDGED that, as provided in Federal Rule of

  Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who receive actual notice

  of this Judgment by personal service or otherwise: (a) Ortiz’s officers, agents, servants, employees,

  and attorneys; and (b) other persons in active concert or participation with Ortiz or with anyone

  described in (a).

           B. Section 15(a)(1) of the Securities Exchange Act of 1934 (“Exchange Act”)

          IT IS FURTHER ORDERED AND ADJUDGED that Ortiz is permanently restrained

  and enjoined from violating, directly or indirectly, Section 15(a)(1) of the Exchange Act [15 U.S.C. §

  78o(a)(1)] by making use of any means or instrumentality of interstate commerce or of the mails and

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  engaging in the business of effecting transactions in securities for the accounts of others, or inducing

  or effecting the purchase and sale of securities, while not registered with the Commission in

  accordance with the provisions of Section 15(b) of the Exchange Act, or while not associated with a

  broker-dealer that was so registered.

           IT IS FURTHER ORDERED AND ADJUDGED that, as provided in Federal Rule of

  Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who receive actual notice

  of this Judgment by personal service or otherwise: (a) Ortiz’s officers, agents, servants, employees,

  and attorneys; and (b) other persons in active concert or participation with Ortiz or with anyone

  described in (a).

                                                             II.

           DISGORGEMENT, PREJUDGMENT INTEREST, AND CIVIL PENALTY

           IT IS FURTHER ORDERED AND ADJUDGED that Ortiz is liable to the Commission for

  $149,986 in disgorgement, representing net profits gained as a result of the conduct alleged in the Complaint, prejudgment

  interest on disgorgement of $16,216, and a civil penalty of $30,000 pursuant to Section 20(d) of the Securities Act [15

  U.S.C. § 77t(d)] and Section 21(d)(3) of the Exchange Act [15 U.S.C. § 78u(d)(3)].

           Ortiz shall pay the total of $196,202 to the Commission in four installments according to the

  following schedule: (1) $50,000 already escrowed with his attorney within 30 days entry of this Final

  Judgment; (2) $48,734 within four months of entry of this Final Judgment; (3) $48,734 within eight

  months of entry of this Final Judgment; and (4) $48,734 within one year of entry of this Final

  Judgment. Payments shall be deemed made on the date they are received by the Commission and

  shall be applied first to post judgment interest, which accrues pursuant to 28 U.S.C. § 1961 on any

  unpaid amounts due after 30 days of the entry of Final Judgment. Prior to making the final payment

  set forth herein, Ortiz shall contact the staff of the Commission for the amount due for the final

  payment.

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          If Ortiz fails to make any payment by the date agreed and/or in the amount agreed according

  to the schedule set forth above, all outstanding payments under this Final Judgment, including post-

  judgment interest, minus any payments made, shall become due and payable immediately at the

  discretion of the staff of the Commission without further application to the Court. The Commission

  may then enforce the Court’s judgment for disgorgement and prejudgment interest by using all

  collection procedures authorized by law, including, but not limited to, moving for civil contempt at

  any time. The Commission may also then enforce the Court’s judgment for penalties by the use of all

  collection procedures authorized by law, including the Federal Debt Collection Procedures Act, 28

  U.S.C. § 3001 et seq., and moving for civil contempt for the violation of any Court orders issued in

  this action.

          Ortiz may transmit payment electronically to the Commission, which will provide detailed

  ACH transfer/Fedwire instructions upon request. Payment may also be made directly from a bank

  account via Pay.gov through the SEC website at https://pay.gov/public/form/start/39621196.

  Ortiz may also pay by certified check, bank cashier’s check, or United States postal money order

  payable to the Securities and Exchange Commission, which shall be delivered or mailed to:

           Enterprise Services Center
           Accounts Receivable Branch
           6500 South MacArthur Boulevard
           HQ Bldg. Room 265, AMK-326
           Oklahoma City, OK 73169

  and shall be accompanied by a letter identifying: the case title, civil action number, and name of this

  Court; Ortiz as a defendant in this action; and specifying that payment is made pursuant to this Final

  Judgment.

          Ortiz shall simultaneously transmit photocopies of evidence of payment and case identifying

  information to the Commission’s counsel in this action, Robert K. Levenson, Senior Trial Counsel,

  Securities and Exchange Commission, 801 Brickell Avenue, Suite 1950, Miami, FL 33131. By making

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  any payment, Ortiz relinquishes all legal and equitable right, title, and interest in such funds and no

  part of the funds shall be returned to him. The Commission shall hold the funds, together with any

  interest and income earned thereon (collectively, the “Fund”), pending further order of the Court.

         The Commission may propose a plan to distribute the Fund subject to the Court’s approval.

  Such a plan may provide that the Fund shall be distributed pursuant to the Fair Fund provisions of

  Section 308(a) of the Sarbanes-Oxley Act of 2002. The Court shall retain jurisdiction over the

  administration of any distribution of the Fund, and the Fund may only be disbursed pursuant to an

  Order of the Court.

         Regardless of whether any such Fair Fund distribution is made, amounts ordered to be paid as

  civil penalties pursuant to this Final Judgment shall be treated as penalties paid to the government for

  all purposes, including all tax purposes. To preserve the deterrent effect of the civil penalty, Ortiz

  shall not, after offset or reduction of any award of compensatory damages in any Related Investor

  Action based on his payment of disgorgement in this action, argue that he is entitled to, nor shall he

  further benefit by, offset or reduction of such compensatory damages award by the amount of any part

  of Ortiz’s payment of a civil penalty in this action (“Penalty Offset”). If the court in any Related

  Investor Action grants such a Penalty Offset, Ortiz shall, within 30 days after entry of a final order

  granting the Penalty Offset, notify the Commission’s counsel in this action and pay the amount of

  the Penalty Offset to the United States Treasury or to a Fair Fund, as the Commission directs. Such

  a payment shall not be deemed an additional civil penalty and shall not be deemed to change the

  amount of the civil penalty imposed in this Final Judgment. For purposes of this paragraph, a “Related

  Investor Action” means a private damages action brought against Ortiz by or on behalf of one or

  more investors based on substantially the same facts as alleged in the Complaint in this action.




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                                                     III.

                                 INCORPORATION OF CONSENT

          IT IS FURTHER ORDERED AND ADJUDGED that the Consent filed herewith is

  incorporated herein with the same force and effect as if fully set forth herein, and Ortiz shall comply

  with all of the undertakings and agreements set forth therein.

                                                     IV.

                                 RETENTION OF JURISDICTION


          IT IS FURTHER ORDERED AND ADJUDGED that this Court shall retain jurisdiction

  of this matter and over Ortiz in order to implement and carry out the terms of this Final Judgment

  and all Orders and Decrees that may be entered, to entertain any suitable application or motion for

  additional relief within the jurisdiction of this Court, and to order any other relief that this Court

  deems appropriate under the circumstances

                                                     V.

                            BANKRUPTCY NONDISCHARGEABILITY

          IT IS FURTHER ORDERED AND ADJUDGED that, solely for purposes of exceptions

  to discharge set forth in Section 523 of the Bankruptcy Code, 11 U.S.C. § 523, the allegations in the

  Complaint are true and admitted by Ortiz, and further, any debt for disgorgement, prejudgment

  interest, or civil penalty or other amounts due by Ortiz under this Final Judgment or any other

  judgment, order, consent order, decree, or settlement agreement entered in connection with this

  proceeding, is a debt for the violation by Ortiz of the federal securities laws or any regulation or order

  issued under such laws, as set forth in Section 523(a)(19) of the Bankruptcy Code, 11 U.S.C. §

  523(a)(19).




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         DONE AND ORDERED in Fort Lauderdale, Florida this 5th day of August 2021.




                                                 __________________________________
                                                 ROY K. ALTMAN
                                                 UNITED STATES DISTRICT JUDGE

  cc: counsel of record




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